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            UNITED TECHNOLOGIES CORPORATION
      10
                                        UNITED STATES DISTRICT COURT

      12
                                      CENTRAL DISTRICT OF CALIFORNIA
           PAUL OLDS,                                                Case No. 2:12-cv-08539-R(MRWx)
      14
                                   Plaintiff,
      15                                                             DEFENDANT UNITED
                     v.                                              TECHNOLOGIES CORPORATION'S
o     16                                                             EX PARTE APPLICATION TO
         3M COMPANY a/k/a MINNESOTA                                  CONTINUE THE HEARING ON
      17 MINING & MANUFACTURING                                      PLAINTIFF'S MOTION TO COMPEL
         COMPANY; et al.,                                            THE DEPOSITION OF UNITED
      18                                                             TECHNOLOGIES CORPORATION
                             Defendants.                             AND REQUEST FOR PRODUCTION
    0 19                                                             OF DOCUMENTS PURSUANT TO
                                                                     RULES OF CIVIL PROCEDURE
      20                                                             3B6;
                                                                        )( ) AND PLAINTIFFS'
                                                                     REQUEST FOR SANCTIONS;
      21                                                             MEMORANDUM OF POINTS AND
                                                                     AUTHORITIES
      22

      23

      24
                     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
      25
                     Defendant United Technologies Corporation("UTC")hereby applies ex parte for
      26
            an order continuing the hearing on Plaintiff's Motion to Compel the Deposition of United
      27

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                 UNITED TECHNOLOGIES CORPORATION'S EX PARTE APPLICATION TO CONTINUE HEARING ON PLAINTIFF'S MOTION TO
                                                              COMPEL
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       1 Technologies Corporation and Request for Production of Documents from November 4,
      2 2013,to December 2, 2013.

      3             The undersigned counsel has notified plaintiff's counsel and all parties ofthis
      4 application. [Declaration of John K. Son, ¶ 3.] The undersigned counsel has also

      5 informed plaintiffs' counsel and all parties that opposing papers must be within 24 hours

      6 of actual receipt ofthis ex parte application. [Son Decl., ¶ 3]

      7             This application is based on the ex parte notice, the attached memorandum of
      8 points and authorities, the declaration of John K. Son and exhibits, and all pertinent

      9 documents filed in this case.

      10 DATED: October 30, 2013                                 TUCKER ELLIS LLP
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g 12
                                                                 By: /s/ John K Son
      13                                                             John K. Son
                                                                    john.son@tuckerellis.com
 c, 14                                                               Attorneys for Defendant
                                                                     UNITED TECHNOLOGIES
      15                                                             CORPORATION
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                 UNITED TECHNOLOGIES CORPORATION'S EX PARTE APPLICATION TO CONTINUE HEARING ON PLAINTIFFS' MOTION TO
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           1                         MEMORANDUM OF POINTS AND AUTHORITIES
           2 I.         INTRODUCTION
           3             Defendant United Technologies Corporation("UTC")applies ex parte for an order
           4 continuing the hearing on plaintiffPaul Olds' motion to compel the Federal Rule of Civil

           5 Procedure 30(b)(6) deposition of UTC and requests for production of documents,

           6 currently set for November 4, 2013. UTC's objections to producing a corporate

           7 representative for deposition are based on the absence of evidence in this case connecting

           8 any UTC product to plaintiff's alleged asbestos exposure. UTC will file a motion for

           9 summary judgment to be heard on December 2, 2013, that squarely addresses the issue of

          10 plaintiff's lack of evidence of exposure to asbestos from UTC products, including Pratt &

     •
     •41 11     Whitney aircraft engines for which it is being sued. UTC will also move for summary
     • 12 judgment based on its affirmative defenses, including the government contractor,

     • 13 sovereign immunity, and sophisticated user defenses. Because the "no evidence of

     o 14 exposure" issue is common to both plaintiffs motion to compel and UTC's anticipated

                motion for summary judgment, principles ofjudicial economy and efficiency warrant
L)              both motion being heard on the same day. Moreover, continuing plaintiffs motion to
                compel to December 2, 2013, to be heard on the same day as UTC's motion for summary
               judgment, will avoid the waste oftime and money caused by hearing the motion to
      5

     •
     C 19
     )          compel and conducting costly corporate representative depositions which may be
          20 rendered moot by UTC's motion for summary judgment. Accordingly, UTC respectfully

          21    requests that plaintiffs motion to compel be continued to December 2, 2013. Pursuant to
          22 the Court's procedures, UTC has cleared the proposed date of December 2, 3013, with

          23 the Court Clerk. [Son Decl., ¶ 2.]

          24 II.         THE COURT SHOULD CONTINUE THE HEARING ON PLAINTIFFS'
                         MOTION TO COMPEL IN THE INTEREST OF CONSERVING
          25             RESOURCES AND JUDICIAL ECONOMY
          26             The Court has inherent authority to control its docket. Mediterranean Enterprises,
          27 Inc. v. Ssanyang Corp., 708 F.2d 1458, 1465 (9th Cir. 1983), citing Landis v. North

          28 America Co., 200 U.S. 248, 254-55 (1936)(noting that every court has inherent authority
                                                                     3
                     UNITED TECHNOLOGIES CORPORATION'S EX PARTE APPLICATION TO CONTINUE HEARING ON PLAINTIFFS' MOTION TO
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    1 to control its docket with economy oftime and effort for itself, for counsel, and for
    2 litigants).

    3              Continuing the hearing on plaintiffs motion to compel the deposition of UTC
    4 would promote judicial economy and conserve parties' resources. UTC will file a motion

    5 for summary judgment based primarily on the lack of evidence of causation. UTC is

    6 entitled to summary judgment because there is no evidence that Mr. Olds worked with or

    7 around any Pratt & Whitney aircraft engine components (for which UTC is being sued),

    8     whether such components contained asbestos or not. UTC's motion for summary
    9 judgment will be set for hearing on December 2, 2013.

   10             The primary basis of UTC's motion for summary judgment is identical to the issue
.6' 11    underlying plaintiffs motion to compel, whether there is any evidence linking Mr. Olds'
   12 alleged asbestos exposure to a Pratt & Whitney aircraft engines. UTC contends that

• 13      plaintiffs are not entitled to take the deposition of corporate representatives in the absence
   14     of such evidence of exposure. See Donlon v. AC and S, Inc., et al., MDL 875 CA No. 11-
   15 67721, September 18, 2012 Order ofthe Honorable M. Faith Angell [Docket # 18] at p.

   16     1-2 ("Plaintiffs' notices oftaking the PMQ depositions of Defendants .. . are overbroad
I 17 in that they seek information about aircraft for which Plaintiffs have produced no

• 18      evidence that the decedent work on or around"); see also Doucet v. Asbestos Corporation
• 19 Ltd, MDL 875, CA No. 11-67223 June 14, 2012 Order ofthe Honorable Faith Angell

   20 [Docket # 151] at p. 8; Appleton-Hultz v. Amcord, MDL 875, CA No. 09-64275, April

   21     29, 2011 Order ofthe Honorable Thomas J. Reuter [Docket # 167] at p. 1; Unzicker v.
   22 A. W. Chesterton, MDL 875, CA No. 11-66288, May 31, 2012 Order ofthe Honorable

   23 David R. Strawbridge [Docket # 182] at p. 13; Spychalla v. AVCO Corp., MDL 875 CA

   24 No. 12-60004, October 4,2012 Order ofthe Honorable M. Faith Angell [Docket # 122]

   25     at p. 1-2. (See Decisions, Exhibit F to the Declaration of John K. Son filed in opposition
   26 to plaintiffs motion to compel).

   27             Moreover, UTC will move for summary judgment on alternative grounds
   28     supported by its affirmative defenses, including the government contractor, sovereign
                                                               4
               UNITED TECHNOLOGIES CORPORATION'S EX PARTE APPLICATION TO CONTINUE HEARING ON PLAINTIFFS' MOTION TO
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 1    immunity, and sophisticated user defenses. A continuance of plaintiff's motion to
2 compel would avoid the time and costs of hearing the motion and, potentially, conducting

3 costly corporate representative depositions that may be rendered moot if UTC's motion

4 for summary judgment is granted.

5             Plaintiff will not be prejudiced by a continuance. While UTC contends that the
6 discovery sought by plaintiff would be irrelevant to the determination of UTC's motion

7 for summary judgment, particularly because it will be based mainly on plaintiffs own

8 deposition testimony establishing that he cannot prove exposure to asbestos from a Pratt

9 & Whitney aircraft engine, should plaintiff make the requisite showing that additional

10 discovery is necessary to oppose UTC's motion for summary judgment,then the Court
      may grant plaintiff a continuance for the purpose of conducting the necessary discovery.
      Until that time, however, the complete absence of evidence in the record to date, of any
      evidence that Mr. Olds was exposed to asbestos from a Pratt & Whitney aircraft engine,
      counsels against compelling UTC to produce a corporate representative for deposition.
      The financial burden to UTC of producing a corporate representative for deposition
     (especially if the Court ultimately finds that plaintiff has not met his burden of
      establishing some threshold level of exposure to asbestos from a UTC/Pratt & Whitney
18 product) substantially outweighs any prejudice to plaintiff of continuing the hearing on

19 his motion to compel to the same day as UTC's motion for summary judgment.

20 III.       CONCLUSION
21            For the foregoing reasons, UTC respectfully requests an order continuing the
22 hearing on plaintiffs motion to compel against UTC to December 2, 2013.

23 DATED: October 30, 2013                               TUCKER ELLIS LLP
24

25
                                                         By: /s/ John K Son
26                                                           John K. Son
                                                             Attorneys for Defendant
27                                                           UNITED TECHNOLOGIES
                                                             CORPORATION
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           UNITED TECHNOLOGIES CORPORATION'S EX PARTE APPLICATION TO CONTINUE HEARING ON PLAINTIFFS' MOTION TO
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 1                                  CERTIFICATE OF SERVICE
2       I declare that I am a citizen ofthe United States and a resident ofLos Angeles,
  California or employed in the County ofLos Angeles, State of California. I am over the
3 age of 18 and not a party to the within action. My business address is Tucker Ellis LLP,
  515 South Flower Street, Forty-Second Floor, Los Angeles, California 90071-2223.
4
              On October 30, 2013,I served the following document entitled DEFENDANT
5 UNITED TECHNOLOGIES CORPORATION'S EX PARTE APPLICATION TO
      CONTINUE THE HEARING ON PLAINTIFF'S MOTION TO COMPEL THE
6 DEPOSITION OF UNITED TECHNOLOGIES CORPORATION AND REQUEST FOR
     PRODUCTION OF DOCUMENTS PURSUANT TO RULES OF CIVIL PROCEDURE
7 30(B)(6); AND PLAINTIFFS' REQUEST FOR SANCTIONS; MEMORANDUM OF
     POINTS AND AUTHORITIES on the interested parties in this action by:
8
   (X) ELECTRONICALLY VIA ECF: the above-entitled document to be served
9      electronically through the United States District Court, Central District ECF
       website, addressed to all parties appearing on the Court's ECF service list. A copy
10     ofthe "Filing Receipt" page will be maintained with the original document in our
       office.
11
     ()       U. S. MAIL:I placed a copy in a separate envelope:with postage fully -prepaid,
12            for each address named on the attached service list for collection am.mailing
              on the below indicated day following the ordinary business practices at Tucker
13            Ellis LLP. I certify I am familiar with the ordinary business practices of my place
              of employment with regard to collection for mailing with the United States Postal
14            Service. I am aware that on motion ofthe party served, service is presumed invalid
              if postal cancellation date or postage meter date is more than one day after date of
15            deposit or mailing affidavit.
16 (X)        I declare that I am employed in the office of a member ofthe Bar ofthis Court at
              whose direction the service was made.
17
              Executed on October 30, 2013 at Los Angeles, California.
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                                         CERTIFICATE OF SERVICE
      074908000772947251
